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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
_______________________________________

Soren Stevenson,                                          Civ. No. 20-2007 (SRN/TNL)

                                    Plaintiff,
v.                                                        DECLARATION OF ROBERT
                                                          BENNETT IN SUPPORT OF
Benjamin Bauer, acting in his individual                  PLAINTIFF’S MOTION FOR
capacity as a Minneapolis Police Officer, et al.,         AWARD OF COSTS,
                                                          INCLUDING REASONABLE
                                    Defendants.           ATTORNEYS’ FEES, UNDER
                                                          42 U.S.C. § 1988
_______________________________________

        I, Robert Bennett, state and depose as follows:

        1.     I am lead counsel representing Plaintiff Soren Stevenson (Soren) in

connection with the above-entitled action. I make this Declaration in support of Soren’s

Motion for Award of Costs, Including Reasonable Attorneys’ Fees, Under 42 U.S.C. §

1988.

                                     BACKGROUND

        2.     On May 31, 2020, Defendant Benjamin Bauer was working as a member of

Minneapolis Police Department (MPD) SWAT 1280.

        3.     MPD SWAT is considered the most highly trained tactical team within the

MPD. As part of their training, each SWAT team member must demonstrate proficiency

in the use of the 40-mm “less lethal” launcher, a weapon with a 14-inch, rifled barrel

designed to fire a variety of munitions, including gas rounds and direct-impact rounds

aimed at a specific individual target.
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       4.     On May 31, Defendant Bauer was equipped with a 40-mm single shot “less

lethal” launcher, with a variety of 40-mm blunt impact projectile (BIP) rounds at his

disposal – including a gel round with an “optimal” shooting distance between 10 and 90

feet. Defendant Bauer generally used the weapon in single action (meaning he manually

cocked the hammer before pulling the trigger), making the weapon even more accurate.

Further, it was equipped with a nearly $600 EOTECH holographic weapon sight (HWS)

that allows its shooter to place a reticle precisely where he is aiming.

       5.     While the 40-mm launcher is called a “less lethal” weapon, the depositions

in this case, and in other post-George Floyd murder operational cases, illustrate that MPD

officers, including Defendant Bauer, understand that the weapon is not non-lethal.

       6.     In fact, MPD policy and procedure, MPD training, and manufacturer

warnings – both of the launcher and the specific BIP round at issue in this matter –

inform officers that the head, neck, throat and chest cannot be targeted without deadly

force authorization. Defendant Bauer understood this. The pertinent excerpt from his

deposition in the Marks 1 matter is attached as Exhibit 1.

       7.     As the Court knows, on May 31, 2020, Soren was exercising his First

Amendment rights and protesting George Floyd’s murder by then-Minneapolis police

officer Derek Chauvin.




1
  Ethan Marks also was blinded in one eye after having been shot by Defendant Bauer
three days before Soren. He too commenced an action against Bauer, currently pending
before the Honorable Ann D. Montgomery.
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        8.    Soren did so on the advice and encouragement of state and city leaders and

did so peacefully. He joined a group of peaceful protesters near the onramp to

southbound I-35W from University Avenue.

        9.    Soren was not armed. He was not breaking curfew. He was not part of any

riot. He was not an arsonist or a looter.

        10.   Yet, as he stood in the grassy area next to the onramp to the highway, he

was shot by Defendant Bauer – who was within the front-line of the police contingent

that had responded to the onramp, and well within the “optimal” shooting distance for his

gel BIP round.

        11.   Defendant Bauer shot Soren in his left eye. The projectile’s so-called

“blunt” impact was nothing of the sort, penetrating and destroying Soren’s eye and

causing other catastrophic facial fractures and injuries.

        12.   We undertook representation of Soren in June 2020, shortly after he was

shot, but the final paperwork was signed in July. A lawsuit was filed on September 21,

2020.

                               THE LITIGATION TEAM

        13.   I received my undergraduate education at the University of Notre Dame,

where I graduated with honors in English in 1973. I graduated from the University of

Minnesota Law School in 1976. My biographical information, and that for the other

attorneys who billed time on this case, is attached hereto as Exhibit 2.




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       14.    I have been admitted to practice before the following bars and courts, and

from the dates of admission forward, have remained a practicing member in good

standing:

              a.     1976: Bar of the State of Minnesota and U.S. District Court, District
                     of Minnesota;

              b.     1982: U.S. Court of Appeals for the Eighth Circuit;

              c.     1998: U.S. Court of Appeals for the Federal Circuit;

              d.     1999: U.S. District Court, District of North Dakota and U.S. District
                     Court, Eastern District of Wisconsin;

              e.     2000: U.S. Court of Appeals for the Seventh Circuit,

              f.     2001: U.S. Supreme Court; and

              g.     2005: U.S. Court of Appeals for the Eleventh Circuit.

       15.    I am a Fellow of the American College of Trial Lawyers and a member of

the Minnesota State Bar Association, American Bar Association, American Association

for Justice, and the Minnesota Association of Justice. In 1989, I received certification

from the Minnesota State Bar Association as a Civil Trial Specialist. Also, in 1989, I

received a certification in civil trial advocacy from the National Board of Trial Advocacy.

I remain certified with both organizations.

       16.    In October 2008, I was recognized as an Associate in the American Board

of Trial Advocates (“ABOTA”), and I have remained in good standing with that

organization since that time. Further, I have received the following recognitions:

              a.     “Minnesota Super Lawyer,” Super Lawyers for 26 years;



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               b.      Attorney of the Year, Minnesota Lawyer (2007, 2008, 2013, 2014,

                       2016, 2017);

               c.      Power 30 List, Minnesota Lawyer (2021);

               d.      “Midwest Trailblazer,” The American Lawyer (2021); and

               e.      “Minnesota ICON,” Finance & Commerce and Minnesota Lawyer

                       (2021).

       17.     I have lectured at various venues, including the National Institute of Trial

Advocacy, the Walter F. George School of Law at Mercer University, the Public Agency

Training Counsel (a national seminar held in Las Vegas), the University of Minnesota

School of Law, the University of California, Irvine School of Law, the 2016

Congressional Briefing entitled “Gun Violence Prevention,” the Minnesota Association

for Justice Annual Meeting and Virtual Convention, and the LTL International

Leadership Institute, among others.

       18.     My practice consists almost exclusively of trial work, including civil

ligation, personal injury, and civil-rights law. Over the past 35-40 years, my practice has

been at least 95% contingent fee work, in general, with at least 70% of that consisting of

civil-rights litigation.

       19.     My current hourly billing rate of $855 applies to clients who typically pay a

retainer against which fees are billed and collected monthly.

       20.     The three attorneys from Robins Kaplan LLP (RK) most involved in the

representation of Soren in this case are Kathryn (Katie) Bennett, Marc Betinsky, and



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myself. But, the other three members of our team – Andrew Noel, Esther Mignanelli,

and Greta Wiessner – also contributed in various ways.

       21.    Katie Bennett is a 2008 graduate of St. Olaf College and a 2011 graduate of

Mitchell Hamline School of Law (f/k/a William Mitchell). She joined my team as an

associate immediately after passing the bar in 2011 and went on to become a partner at

Gaskins Bennett Birrell Schupp, L.L.P. in 2017. Currently, Katie is a partner at RK and

continues to practice exclusively in plaintiff’s civil rights and personal injury litigation.

Katie prepared for all, and took several, depositions in this case. She was intimately

involved in every aspect of this case, including the crucial task of shooter identification.

Katie also handled much of the writing, document review, analysis and strategy, and

arguing of motions. In 2021, Katie was named to Law360’s Access to Justice Editorial

Board. She has received the following additional recognitions:

              a.      “Minnesota Rising Star,” Super Lawyers (2015-2021);

              b.      “Attorney of the Year,” Minnesota Lawyer (2014); and

              c.      “Rising Stars of the Plaintiffs Bar,” National Law Journal (2021).

       22.    Katie’s current hourly billing rate of $685 applies to clients who typically

pay a retainer against which fees are billed and collected monthly.

       23.    Marc Betinsky is a 1995 High Honors graduate from the University of

Florida and a 1998 cum laude graduate of Cornell Law School. He joined our civil rights

team in January 2018, when we were with Gaskins Bennett Birrell Schupp, L.L.P. Since

joining the team, Marc has practiced extensively in plaintiff’s civil rights and personal

injury litigation. Prior to joining the team, Marc spent more than 11 years as the career

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law clerk for Judge Richard H. Kyle in the U.S. District Court, District of Minnesota.

Prior to his time with Judge Kyle, he served as career law clerk for U.S. Magistrate Judge

Barry S. Seltzer in Fort Lauderdale, Florida, worked as a term law clerk for two other

federal judges, and engaged in private legal practice at large law firms in Boston and

New York City. As of January 2020, when our civil rights team joined RK, Marc has

served as Counsel. He handled much of the necessary legal research and writing, but was

also involved in document review, analysis and strategy, and arguing of motions.

       24.    Marc’s current hourly billing rate of $530 applies to clients who typically

pay a retainer against which fees are billed and collected monthly.

       25.    Andrew (Andy) Noel graduated from the University of Wisconsin, Madison

and went on to graduate magna cum laude from Mitchell Hamline School of Law (f/k/a

Hamline University School of Law). In 2002, shortly after taking the bar exam, he joined

my team when we were at Flynn, Gaskins & Bennett, L.L.P. Currently, Andy is a partner

at RK and continues to practice exclusively in plaintiff’s civil rights and personal injury

litigation. He has received the following recognitions:

              a.     “Minnesota Rising Star,” by Super Lawyers (2005 to 2015);

              b.     “Minnesota Super Lawyer,” by Super Lawyers (2016 to 2021); and

              c.     “Attorney of the Year” by Minnesota Lawyer (2014).

Andy drafted the initial Complaint in this case and thereafter was an important consultant

on many aspects, from strategies to valuation to innovative ways to use the body worn

camera (BWC) videos at depositions.



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       26.    Andy’s current hourly billing rate of $730 applies to clients who typically

pay a retainer against which fees are billed and collected monthly.

       27.    Esther Mignanelli is a 2008 cum laude graduate of Bethel University and a

2014 magna cum laude graduate Chicago-Kent College of Law, where she was also an

Honors Scholar and member of the Order of the Coif. Esther began her career as a

litigator at a regional law firm in Pittsburgh, Pennsylvania, where she handled

commercial litigation matters. She then became an Assistant U.S. Attorney in Chicago,

where she worked in the criminal division of the U.S. Attorney’s Office and led the

prosecution of federal crimes ranging from bank fraud and identity theft, to money

laundering, narcotics, human trafficking and child-exploitation offenses. Esther joined

RK in July 2021, bringing additional trial and appellate experience to our team. She dove

into deposition preparation in this and the related Marks matter.

       28.    Esther’s current hourly billing rate of $580 applies to clients who typically

pay a retainer against which fees are billed and collected monthly.

       29.    Greta Wiessner is a 2013 summa cum laude graduate from Boston College

and a 2019 summa cum laude graduate from University of Pennsylvania Law School,

where she was also a member of the Order of the Coif. She joined RK in September

2021 following two federal clerkships, one on the U.S. Court of Appeals for the Third

Circuit and the other on the U.S. District Court of the Eastern District of Pennsylvania.

These clerkships honed Greta’s legal research and writing in all areas of federal litigation,

making her another great addition to our team.



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       30.    Greta’s current hourly billing rate of $485 applies to clients who typically

pay a retainer against which fees are billed and collected monthly.

       31.    The newest additions to our team recognize RK’s commitment to our

practice by adding immense technical support in the presentation of our work and

enabling our team to add very qualified and talented associates with federal court and

clerkship experience. The entire team was helpful in evaluating the strength and value of

this case.

       32.    In addition to the individual recognitions described above, the RK civil-

rights team was awarded the National Law Journal’s 2021 Elite Trial Lawyers Award for

Civil Rights. The award recognizes law firms that have provided cutting-edge

representation and achieved major wins on behalf of civil-rights plaintiffs.

       33.    Based on my experience and decades of knowledge of the market for civil-

rights attorneys in the local area, it is my opinion that the hourly rates set forth above for

RK attorneys who worked on this case are reasonable and within the range of hourly rates

charged by comparable law firms in the Twin Cities.

       34.    Though a number of different lawyers worked on this matter for Soren,

Defendants similarly staffed this complex case. Three attorneys from the City Attorney’s

Office appeared in this matter, and several additional staff members were involved in

discovery.

                 AN OVERVIEW TO THE PENDING FEE MOTION

       35.    The time RK spent on this litigation has been completely contingent on the

outcome of the action. RK has not been paid for any of the time or out-of-pocket

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expenses spent throughout the litigation. There was no guarantee that any of the attorney

time or costs would be recovered.

       36.    Soren’s Retainer Agreement included a split-fee agreement with 80% of the

attorneys’ fees going to RK and 20% to Ronn Kreps if the case ended prior to the filing

of an appeal to the United States Court of Appeals for the Eighth Circuit, as it did here. 2

       37.    On February 9, 2022, Defendants served their latest Rule 68 Offer on

Soren, attached hereto as Exhibit 3.

       38.    After due consideration and discussions with the litigation team and with

Soren, we sought clarification of the offer and Soren accepted the clarified Rule 68 Offer

in which he was allowed to take judgment in the amount of $2.4 million plus reasonable

attorneys’ fees and costs against Defendants Bauer (the shooter), Ryan McCann (SWAT

1280 Team Leader), and Matthew Severance (on-site incident commander) “on all claims

made or which could have been made in Plaintiff’s Complaint, Amended Complaint or

Second Amended Complaint.” The attorneys’ fees and costs were to be set by the Court,

if the parties could not otherwise agree. The clarified acceptance is attached hereto as

Exhibit 4. As set forth in more detail in my Meet and Confer Statement, the parties have

been unable to reach agreement on the fees, necessitating the pending Motion.




2
 Ronn Kreps is a 1980 graduate of Bethel University and 1983 graduate of Mitchell
Hamline School of Law (f/k/a William Mitchell). Ronn was first named to “Super
Lawyers” in 2004. He previously was a partner at RK and currently is with Norton Rose
Fulbright. He is a long-time friend of the Stevenson family and referred this matter to me
based on my experience and success.

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                             THE LITIGATION HISTORY

       39.    RK has spent substantial time on this litigation. At many stages of the case,

the prosecution of Soren’s claims required that the members of our team described above

work exclusively, or nearly so, on this matter. At times, team members were inhibited

from doing other, equally important, professional work on other matters. In addition, the

case required work by other RK lawyers, as well as the civil-rights team’s paralegal,

Angela Koob, and other RK staff professionals.

       40.    The reasons for the substantial time expended are best explained by

providing an overview of the work required at each phase in the litigation, which is

included herein at paragraphs 42 through 157. Suffice it to say, this was no “simple” or

“normal” civil-rights case. Each phase presented different roadblocks and mountains to

climb to successfully vindicate Soren’s constitutional rights. Having looked back on my

more than 40 years practicing law, I can fairly say this case has been one of the most

uniquely complex, if not the most uniquely complex, I have ever worked on.

       41.    Furthermore, the entirety of this case took place during a global pandemic.

Absent a pandemic, the civil-rights team, who primarily work on a single floor in RK’s

Minneapolis office, would conference in-person and often. But, the pandemic required

Zoom and even more telephone conferences than would have typically occurred.

                          Preliminary and Investigation Phase

       42.    The Preliminary and Investigation Phase began two days after Soren was

shot. First, there were Zoom conferences and telephone calls with the client, Kreps, RK

investigators and the entire civil-rights team at that time (aside from Esther and Greta,

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who joined RK after the lawsuit had begun). At this stage it was all-hands-on-deck due

to seriousness of the injuries and constitutional violations at issue. Further, I did not

know who would end up staffing this matter and we needed the team to have a working

understanding of what we were up against, which we would soon learn we had originally

underestimated. It was clear to me that the identities of the individual officers involved,

particularly the shooter and his direct supervisors, were mission critical to the most

successful prosecution of Soren’s rights.

       43.    In mid-June we had gathered enough information to send our first letter

demanding information regarding the identity of the officer(s) who fired at Soren. We

provided still frames from news broadcasts showing the officers that were on the front-

line when Soren was hit, information about the specific location of the incident and still

frames of Soren himself. We requested reports, video footage and audio recordings

regarding the same in our letter to then-Chief Medaria Arradondo and then-Minneapolis

City Attorney Erik Nilsson. The letter is attached hereto as Exhibit 5.

       44.    A week later, we received a response from Assistant City Attorney Kristin

Sarff, who made it clear that a) no investigation regarding the shooting of Soren had been

started; and b) Soren would have to identify his own shooter. Historically, this has been

the case with the MPD and the City Attorney’s Office: either there is no investigation, or

a tainted, sham investigation by either the Department’s Internal Affairs unit or the

always impotent civilian-review mechanism, which has had several names and iterations

over the years. Given the size of the post-George Floyd murder protests and the enormity



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of the police response by various law enforcement agencies, finding one’s own shooter

would prove to be as Herculean a task as I anticipated.

       45.    The City Attorney’s Office suggested we make a Public Data Request

under the Minnesota Government Data Practices Act (MGDPA) as a means of obtaining

information before a Protective Order, which we did, to no avail. This, too, was

expected.

       46.    We also corresponded with Minnesota Bureau of Criminal Apprehension

(BCA), which sometimes investigates officer-involved shootings in Minnesota, to further

attempt to gather information regarding the shooting of Soren. The BCA informed us that

the MPD was investigating itself with regard to the post-George Floyd murder

operational period.

       47.    We diligently reviewed the MPD policy and procedure manual, and

conducted further research, in attempts to find paths to obtaining the materials we

requested in mid-June. This resulted in additional correspondence with the City

Attorney’s Office regarding the failure to identify Soren’s shooter – a fact they and the

MPD should have been able to easily ascertain if policy and procedure with regard to

report-writing was followed. (As we know from our depositions in this and the Marks

matter and the public now knows from the March 7, 2022 Hillard Heintze After-Action

Report, it wasn’t. That Report is attached hereto as Exhibit 6.)

       48.    After approximately two months focusing on the futility of obtaining any

information regarding the shooter’s identity from the City or the State voluntarily, we

switched our focus to initiating the lawsuit on Soren’s behalf.

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                          Complaint and Initial Response Phase

       49.     Our team’s complaints are not mere notice pleading. When we can, we

flush out the facts surrounding the constitutional violations and provide as many details

regarding our clients’ injuries as possible, to ensure compliance with Ashcroft v. Iqbal,

556 U.S. 662 (2009), and Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007). Further,

we have found we encounter fewer motions to dismiss with such complaints. Also,

complaints written in this fashion help outline areas of discovery and introduce the

defendants to the serious nature of the injuries involved.

       50.     As such, we obtained and reviewed all available medical and billing records

to accurately describe Soren’s multifaceted injuries, need for future treatment, and

medical specials.

       51.     We conducted further review and research into MPD and MPD SWAT

policies and procedures, the 40-mm launcher involved in Soren’s shooting, the BIP

rounds the launcher fires, the EOTECH sight, and the timeline of events after the murder

of George Floyd, including the shooting of Ethan Marks (who we later uncovered was

also shot by Defendant Bauer).

       52.     In mid-September 2020, we filed a 30-page Complaint against eight John

Doe Defendants, then-Minneapolis Chief of Police Medaria Arradondo, and the City of

Minneapolis.

       53.     Approximately two months after our filing – likely due to the issues with

service of process – Defendants moved to dismiss Soren’s claims, in part. Notably,

Count I – alleging Fourth and Fourteenth Amendment Violations against the John Doe

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shooter – was not part of the motion. Responding to Defendants’ Motion required time

for researching, drafting and preparing for the argument.

       54.    The Motion to Dismiss effectively put the case on hold. During the hold,

we had no way to identify the John Doe Defendants and, therefore, could not effect

service upon them. We requested an extension, which defense counsel tied to our

agreeing to a Stipulation for Protective Order. We pushed back on the proposed

Protective Order and we were able to file the Stipulation for Extension approximately a

month after our initial request.

       55.    Shortly thereafter, defense counsel agreed that the parties should partake in

a late-February or early-March private mediation, if we would provide Soren’s medical

records and a demand. We agreed. The parties agreed to use Gregory Weyandt, and

mediation was scheduled for March 1, 2021.

       56.    We began all tasks necessary to work up the case including having Soren’s

extensive and specialized medical records reviewed and distilled by an eye-injury expert

– Neal A. Sher, MD, FAAO, FACS – to obtain a report that explained the many issues

and risks associated with monocular vision, the result of Soren being shot. Dr. Sher’s

Report is attached hereto as Exhibit 7.

       57.    Further, we obtained and reviewed the significant amount of medical

records necessary and related to Soren’s injuries. We reached out to witnesses and

drafted “Offers of Proof” from a few individuals who spent the most time with Soren in

the acute stages of his recovery. We held conference calls with his treating providers,

stayed up to date on developments in other MPD cases stemming from the post-George

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Floyd murder operational period, had discussions with Soren regarding medical

appointments and procedures, and strategized as a team regarding the mediation

submission and forthcoming demand to the Defendants.

       58.    Since we had nothing to hide, we shared our working draft of the mediation

submission with defense counsel a few weeks ahead of the mediation. The 18-page,

single-spaced document included details of Soren’s injuries, medical status, medical

specials, professional photographs of his injuries and prosthetic, citations to the Offers of

Proof, and our estimation of trial risks and their impact on valuation. It took significant

time to gather and process the information included in the submission and to draft the

submission itself in a manner that we believed would help the Defendants, defense

counsel, the Minneapolis City Council and Weyandt understand the need for a significant

amount of money to resolve the case.

       59.    In a further attempt to foster settlement discussions, we offered defense

counsel an informal meeting with Soren, to understand first-hand the toll the shooting had

taken on him. The offer was not accepted.

       60.    Our investigation and strategizing continued ahead of the mediation.

Through this, we uncovered an Instagram video depicting Soren in the moments after he

was shot in the right eye, as well as a recent eye-out verdict obtained by RK partner

Teresa McClain. We shared this information with defense counsel, as well as Weyandt.

       61.    Four days ahead of mediation, our fees and costs were approximately

$310,000 and $15,000, respectively.



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       62.    The March 1, 2020 mediation failed. The parties were millions of dollars

apart. It was a frustrating process for Soren and only solidified his desire to continue to

prosecute this matter and find the truth about the events of May 31, 2020, that so

drastically altered the course of his life and plans therefor.

       63.    As such, we continued forward in the litigation process.

       64.    We began drafting identification discovery and attempting to schedule the

Rule 26(f) meeting with defense counsel, which reportedly could not be accomplished for

nearly four weeks.

       65.    Before that meeting occurred, the parties received the Order granting in part

and denying in part Defendants’ Motion to Dismiss, and the Pretrial Conference was

scheduled.

       66.    We drafted a Proposed Rule 26(f) Report and provided it to defense

counsel.

       67.    On March 25, 2020, Defendants’ Answer was filed, in which they formally

claimed they could not identify Soren’s shooter.

       68.    The Rule 26(f) meeting occurred at the end of March. There was much

disagreement about timing of discovery and the scope of any Protective Order.

       69.    These discussions hinted that MPD defendants, in this and other cases,

intended to use Protective Orders to hinder plaintiffs’ prosecution of federal civil-rights

claims under a misguided claim of confidentiality. We knew this issue would have to be

litigated, but also understood compromise was necessary at this juncture because it was



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imperative to name the individual Defendants – particularly, the shooter – and finalize

service of the Complaint.

       70.    On March 29, 2021, the same day as the meeting regarding the Rule 26(f)

Report, Soren received a Rule 68 Offer for $1.9 million plus fees and costs. Soren did

not accept the Offer.

                                Written Discovery Phase

       71.    Soren served his “identification discovery” – Interrogatories and Requests

for Production – on March 29, 2021.

       72.    April was filled with negotiations regarding outstanding issues on the Rule

26(f) Report and the Stipulation for Protective Order.

       73.    Our internal conversations and the negotiations regarding the Protective

Order spilled into May 2020. Eventually, Soren agreed to the filing of the same

Stipulation for Protective Order entered in the Marks matter.

       74.    On May 3, 2021, Defendants served their responses to Soren’s

identification discovery, again claiming they could not identify his shooter and providing

several alternative theories as to how he was injured. The alternatives speculated that

Soren’s injuries might have been caused by protesters throwing objects, or by other law-

enforcement agencies in the vicinity that were armed with 40-mm launchers.

       75.    With Defendants’ May 3, 2021 discovery responses were nearly 1,300

pages of documents and scores of body worn camera (BWC) videos, all of which were

completely unorganized and not labeled in a manner that permitted the contents to be



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known. They were produced as individual PDFs, named for the first Bates label of the

document. These PDFs had to be opened one by one to ascertain their contents.

      76.    Below are screen grabs depicting the Defendants’ Initial Production,

described in paragraph 76, including the list of BWC (MPLS_STEVENSON001100-

001219) and Stevenson Prod. 01 that opens up into: 1) data; 2) images; and 3) natives:




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reference tool as we headed further into discovery and, particularly, deposition

preparation.

       81.     Compounding the issues of using the information in this first batch of

discovery was MPD’s failure to require adherence to report-writing policies on use of

force during the post-George Floyd murder operational period. Normally, one can review

police reports, incident reports or supplements and decipher which officer(s) were

involved and which officer(s) used force because officers are to include the material facts

surrounding the use-of-force in their written reports. This was not the case on May 31,

2020, or during most of, if not the entire, post-George Floyd murder operational period.

Instead, the reports we reviewed from this period of time left nearly all material facts to a

guessing game. For example, they failed to specify the location of many MPD officers.

They provided only approximations of the number of munitions used. They failed to

describe the targets of the shots, the result of the shots, or if injuries had occurred, which

40-mm shooters are trained to do for each round they fire. Notably, the $600 EOTECH

optical sight on the SWAT 1280 40-mm launchers should have enabled this to be done

even at night, and Soren was shot in clear daylight at a range of only about 50 feet or so.

Sometimes, the reports failed to include that force was used at all. Sometimes, officers

failed to write reports at all. We simply could not tell from the written documents who

had shot Soren, because of the breakdown and lack of adherence to MPD Policies meant

to ensure that there would be self-identification by the force-user of the force used.

Defendant Bauer and SWAT and other MPD officers took great advantage of MPD’s

failure to require adherence to these policies during this period. This was a driving factor

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in the need for painstaking BWC review and the consequent amount of time expended to

identify the shooter.

       82.    The hardships posed by such vague reporting is best evidenced by our

internal correspondence regarding Soren’s shooter’s identity. Our initial guesses ended

up being people we never even contemplated deposing once we had a full grasp on the

entire production (and facts).

       83.    As such, a detailed review of the hours and hours of BWC video was

required. Yet, key portions of the BWC videos provided by Defendants were obscured

with the a “Confidential” stamp, which made reviewing the materials difficult, as

depicted in the below still frame from Defendant Bauer’s BWC:




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       84.    Three days after receipt of the first batch of discovery from the Defendants,

at the Pretrial Conference, we alerted defense counsel to the issues with the placement of

the “Confidential” stamp over the video evidence.

       85.    From there, we made many attempts to further discuss the “Confidential”

stamp issue and other discovery deficiencies, with no response from defense counsel until

May 13, 2021, when we learned of their unavailability to discuss the issues until May 19.

       86.    On May 14, 2021, we received correspondence from defense counsel

stating they produced video “related to the incident” but that “did not reflect the actual

incident” – an admission that irrelevant information was produced. Yet, they still did not

provide any index of the videos that depicted the incident itself.

       87.    On May 18, 2021, in a telephone conference with defense counsel, it was

steadfastly maintained that we provide a list of the BWC videos we wanted produced

without the obscuring “Confidential” stamp – a request that flipped discovery obligations

on their head. It became our job to comb through the admittedly irrelevant – but not

obviously so – BWC footage in order to provide such a list so that we could obtain the

relevant video without the evidence-obscuring stamp.

       88.    To do so meant opening and viewing the 125 BWC videos that were

produced on May 3, 2021, which ranged from 35 seconds to over an hour. This was

necessary because we were unable to tell the officers’ locations and if the video contained

relevant information without opening and playing each one (see paragraph 81 regarding

MPD report-writing issues). Just creating the list demanded by defense counsel took

significant time.

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       89.    Meanwhile, parallel work was being done by the team throughout May

2021. We were reviewing, analyzing, conferencing, drafting memoranda, and

strategizing regarding the discovery provided. We were in contact with our expert

regarding the same. We were strategizing regarding our next discovery steps. All of

these steps aided in the drafting of the Amended Complaint. Further, we were working to

respond to Defendants’ discovery requests to Soren and putting together his Initial

Disclosures. We continued to monitor publications that would aid in the prosecution of

Soren’s civil rights, including the Letter to the Editor of the New England Journal of

Medicine regarding local medical providers’ observations of the improper use of 40-mm

launchers during the post-George Floyd operational period that caused serious injuries.

       90.    On June 1, 2021, we emailed to defense counsel an Amended Complaint

that included photos from the BWC evidence and described recorded conversations

captured on the videos. We offered five dates to meet and confer on confidentiality

issues regarding these images and conversations.

       91.    The same day, we received the BWC videos without the obscuring stamp,

as well as Internal Affairs materials that we previously requested. Further, we received

Defendants’ Initial Disclosures that were again unorganized and not labeled in a manner

that permitted the contents to be known. Like the first production set, the documents

were produced as individual PDFs, named for the first Bates label of the document, and

had to be opened one by one. We first indexed the documents to figure out what we had

received and then continued with a hard review of the materials.



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       92.    On June 7, 2021, we received an additional 4,100 pages of documents, 3

which were produced in the same fashion as the others. Except, this time, upon our

indexing, it was clear that many of the documents marked “native” were missing.

       93.    On June 8, 2021, we emailed defense counsel demanding the missing

“native” documents. It would be months before these materials were disclosed.

       94.    The same day, defense counsel advised they would not agree to the filing of

Soren’s Amended Complaint as drafted, requiring a stipulation to file it under seal. Even

that stipulation required extensive back-and-forth negotiation.

       95.    On July 2, 2021, the parties received the Order permitting Soren to file the

First Amended Complaint under seal. On July 9, 2021, we filed Soren’s sealed Amended

Complaint and a redacted public version of the same – naming Bauer as the shooter and

McCann and Severance as supervisory defendants, identities we had only learned through

our painstaking review of Defendants’ dumped documents and the hours upon hours of

BWC video.

       96.    Then, we began working on a second round of discovery to the now named-

defendants.

       97.    Defendants filed their Answers to the Amended Complaint on July 30,

2021, maintaining they did not know who shot Soren. Attachments were referenced by

the Answer, but were not served or filed therewith. We analyzed and compared each

Answer to the Amended Complaint to guide deposition preparation.


3
 Some of these documents included upwards of 80 pages of MPD training PowerPoint
presentations.
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        98.    On August 4, 2021, Magistrate Judge Leung scheduled a settlement

conference for November 2, 2021.

        99.    On August 12, 2021, we began attempting to schedule the depositions of

the now-named Defendants in this matter and proposed the week of October 4-8, 2021.

The depositions of Bauer, McCann, and Severance were eventually scheduled for that

week.

        100.   On August 13, 2021, we served additional document requests and

interrogatories to Defendants Bauer, McCann, Severance and the City of Minneapolis.

These requests were served early enough that the responses would be able to be analyzed

and used in the depositions scheduled for the first week of October.

        101.   The following months were filled with much deposition preparation, which

included:

               a.    Continued review and analysis of document production;

               b.    Creating lists of “hot documents” and potential exhibits and

                     circulation and discussions regarding the same;

               c.    Detailed review of the BWC evidence. This was a new, non-

                     repetitive viewing of the videos that differed greatly from our initial

                     review to identify Bauer as Soren’s shooter and McCann and

                     Severance as his commanding officers on May 31, 2020. Instead, in

                     light of the defense’s insistence that Soren could have been injured

                     by someone other than Bauer, we were required to view the videos

                     with scrupulous attention to detail in order to construct a working

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                    timelines of events not only to pinpoint Bauer as the shooter, but

                    also to exclude other potential shooters or causes of Soren’s injury.

                    Thus, far from simply pushing play and watching the events unfold,

                    this required carefully analyzing the BWC videos from the numerous

                    officers at the University Avenue onramp to southbound I-35W on

                    May 31, 2020, to enable us to understand:

                       i.   The SWAT 1280 van officer position line-up;

                      ii.   The identification of other law enforcement personnel at the

                            scene;

                     iii.   Individual weapon identification for law enforcement

                            personnel at the scene;

                     iv.    Conversations at the scene;

                      v.    Decisions made at the scene;

                     vi.    Authorizations from command staff to those at the scene;

                     vii.   The location(s) of each individual throughout the planning,

                            strategizing and preparation for the second volley 4 of

                            munitions fired at the protesters (including when Soren was

                            shot);




4
 There was a first volley of munitions used on protesters at this scene, but Soren was not
within the group at that time having arrived in the area after the protester group had re-
formed.
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                      viii.   The physical location and vantage point of each law

                              enforcement officer during the second volley;

                       ix.    The actions of each law enforcement officer during the

                              second volley;

                        x.    The order of the use of force (which was analyzed from both

                              the visible actions of officers and the sounds made from

                              hand-held munitions and the 40-mm launchers);

                       xi.    The actions and reactions of the protesters; and

                      xii.    The actions and reactions of Soren upon his arrival to front

                              line of the protesters just prior to the second volley.

      d.     Conferences regarding BWC evidence and the results of the review

             described above.

      e.     Legal research and strategy discussions regarding less lethal weapons,

             EOTECH sights used by MPD SWAT team members, use of force during

             crowd control situations, and Defendants’ purported justification for use of

             force.

      102.   The BWC review and analysis described above in paragraph 101(c) was

further complicated by the fact that the time stamps on the BWC videos did not align.

This was contrary to product literature from the BWC manufacturer (Axon), but

confirmed by picking observable events in the pertinent BWCs and comparing the time

stamps. Some were synchronized, but the majority were from 1 to 5 seconds different.

As such, the sequencing of events became all the more important.

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       103.   Examples of the time stamp issues are included in the below still frames

from two SWAT 1280 team members BWCs – Michael Meath’s BWC (X6039A824) at

18:48:40, and Rian Jensen’s BWC (X6039A7LW) at 18:48:37. Each depicts the same

water bottle arching towards the police line, but as can be seen, the time stamps are

approximately 3 seconds apart:




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       104.   On September 9, 2021, Defendants requested a two-week extension to

respond to Soren’s then-pending discovery requests, which we denied because it would

not provide enough time to incorporate the information for use in the then-scheduled

depositions. Alternatively, we offered to extend the deadline to September 20, 2021, if

Defendants would agree to allow the use of documents produced in the Marks matter in

the depositions, since the Marks incident involved the same shooter – Bauer – and some

of the same SWAT 1280 personnel.

       105.   On September 13, 2021, the Defendants’ responses were served by mail. 5

We received them September 16, 2021. They were deficient in several ways, most

glaringly: no documents were provided with the production. This was designed to avail

Defendants of an extension not agreed to by the parties.

       106.   On September 17, 2021, we sent a letter to defense counsel outlining

several issues with the discovery produced thus far, including: a) we were still missing

the native documents from the June 7, 2021 production; b) attachments mentioned in

documents produced were missing; c) the attachments referenced in the Answers to the

Amended Complaint were missing; d) the multitude of unlabeled documents, untethered

to Defendants’ Answers to Interrogatories that simply directed Soren to “see document

production” was improper; e) lack of documents in the September 13, 2021 production; f)

artificial limitations imposed on discovery responses were improper; and g) defense




5
  This was the only time Defendants served discovery in this manner, that is, not
electronically (and hence immediately available).
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counsel made themselves witnesses by being the only signatories on the Answers to

Interrogatories from the City.

       107.    On September 22, 2021 – less than two weeks before the scheduled

depositions –we received an additional production set from Defendants comprising over

4,500 pages of documents. Within the production were the natives requested months

earlier. This document dump was produced in the same manner as those described above

– unlabeled, unindexed and untethered to any specific request or interrogatory. And,

again, there were missing documents.

       108.   Given that depositions were scheduled to begin in short order, we

undertook a quick review of the production to ascertain which documents were missing.

       109.    On September 23, 2021, we requested the missing documents. They were

provided to us the same day.

       110.   We continued our indexing and hard review of the newly produced

documents and strategized and conferenced regarding their implications and use for the

upcoming depositions. As the depositions were on the immediate horizon, this required a

“drop everything” approach given the sheer number of newly produced documents.

       111.   On September 26, 2021, it became clear conducting depositions via Zoom

in this matter would be problematic. Many of the depositions would require heavy BWC

review to (i) disprove Defendants’ theory that something other than Bauer’s 40-mm

launcher shot struck Soren in the left eye and (ii) affirmatively prove Bauer fired at his

face. After testing the BWC videos, the sound and footage did not air correctly over the

Zoom platform, which would have made an already tedious process nearly impossible.

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       112.   On September 27, 2021, we wrote to defense counsel cancelling the Zoom

depositions and explaining that we could utilize a large conference center with ample

space for social distancing. Additionally, we planned to outfit the room with screens to

allow counsel and witnesses to more easily view BWC and other exhibits, while

providing power sources to counsel tables and breakout rooms for defense counsel’s use,

if needed. The parties agreed to this setup.

       113.   The same day, we received an additional 600 pages of documents from the

Defendants, produced in their usual fashion – unlabeled, unindexed, untethered to written

responses and with documents missing.

       114.   On September 28, 2021, the parties agreed to move Defendant McCann’s

deposition to October 18 and postpone the depositions of Defendants Bauer and

Severance until after the settlement conference.

                                    Deposition Phase

       115.   Ahead of the start of depositions, we engaged in significant preparation,

including, but not limited to: continuation of our hard review of the various document

productions, which by then exceeded 10,000 pages; conferencing regarding the findings

from the video evidence and key documents; strategizing regarding use of key video and

document evidence at the depositions; creating van and weapons identification diagrams;

creating diagrams of the line-up of law enforcement personnel on the front-line at the

time Soren was shot; creating a BIP exhibit; meeting with our trial specialist team

regarding the conference center set-up and use of equipment for depositions; drafting,

reviewing and revising detailed deposition outlines to ensure we obtained testimony

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sufficient to overcome summary judgment on qualified immunity and to prove Soren’s

case; meeting in-person to run through the BWC evidence and outlines; strategizing

regarding exhibits to use for each deponent; reviewing deposition transcripts of MPD

SWAT team members and 40-mm launcher trainers that were available from other post-

George Floyd murder operational period cases; among other tasks geared towards

winning the case at the depositions.

       116.   It can be fairly stated that with each individual or group review of the BWC

evidence, something new and material would appear to one, some or all of the reviewers.

The reviewers ranged from myself and other attorneys on the civil-rights team to our

private investigators, Nick Adler and Brian Cade, who have law enforcement and even

SWAT backgrounds with experience in less-lethal weaponry. We also had

contemporaneous discussions with our police practices expert, Jack Ryan, about his

views of our evidence, Soren’s allegations and plans for depositions.

       117.   Further, during this time, we worked to draft and revise a Second Amended

Complaint clarifying the nature of the supervisory liability claims against Defendants

McCann and Severance. We provided the draft to defense counsel on September 29,

2021 and a Stipulation to file, which was revised and filed on October 1, 2021. The

Defendants were given until after the settlement conference to answer.

       118.   On October 4, 2021, ahead of the settlement conference and to inform any

demand to the Defendants, we pulled the fees and costs. At that time, they totaled

$809,868 and $19,500, respectively.



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         119.   On October 7, 2021, we emailed defense counsel regarding additional

missing documents.

         120.   On October 12, 2021, the parties received Magistrate Judge Leung’s

approval of the Stipulation to file the Second Amended Complaint. It was filed two days

later.

         121.   Also on October 14, 2021, we received 500 missing additional pages of

documents that were absent from the previous production sets. They were again

unlabeled, unindexed, untethered to discovery responses and had to be opened

individually to ascertain the contents. We began the indexing process and review the

same day so that we could include questions and materials from this production in our

deposition strategy for McCann.

         122.   On October 18, 2021, we deposed McCann. This was an all-hands-on-

deck deposition given its importance as the only deposition that would be taken prior to

the settlement conference. We used this deposition to lay the groundwork to show we

could establish Bauer as Soren’s shooter through the video. This took a coordinated

effort at the deposition, with the attorney most familiar with the video evidence – Katie

Bennett – airing the key portions and informing the questioner – myself – which answers

were needed. We had additional team members in the room to ensure the transcript

included the material needed to both prove the case and destroy qualified immunity.

This deposition was used as training for a new member of our team (Esther Mignanelli)

and we have removed the fees associated with this time from the bill, marking it as “no

charge.” (See FN5). Further, McCann’s deposition was key to establish his liability and

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that of Severance, especially in light of the January 27, 2022 Eighth Circuit decision in

Baude v. Leyshock.

       123.    We began attempting to schedule other depositions in this matter in the last

week of October 2021.

       124.    Ahead of the settlement conference, we reviewed the depositions transcript

of McCann. We drafted, reviewed and revised our settlement submission to Magistrate

Judge Leung. We prepared to show the BWC to Magistrate Judge Leung or, at least,

describe the process we undertook and how the videos pieced together to show Bauer was

the shooter.

       125.    At the settlement conference on November 2, 2021 (Election Day), a

mediator’s number was provided. We were asked to place the litigation on hold for two

weeks in part due to the uncertainty surrounding the City Council election and the

referendum on the police department’s continued existence. We were also requested to

provide a letter to Magistrate Judge Leung regarding MGDPA issues raised at the

settlement conference and to outline the reasons we believed the BWC videos were not

confidential. We complied via emailed letter on November 4, 2021.

       126.    On November 16, 2021, Defendants filed their answers to the Second

Amended Complaint.

       127.    The same day, we requested an update regarding the litigation hold. It

appeared Defendants had not gotten back to Magistrate Judge Leung. As such, we

resumed working on this matter in earnest, including preparing to depose Bauer and

Severance in the same manner as McCann.

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       128.   On December 1, 2021, we deposed Defendant Bauer in the Marks matter.

At his deposition, he testified as follows with regard to Soren:

                     3 Q Do you claim that you didn't shoot Soren
                     4 Stevenson in the face?
                     5 A I don't know who shot Soren Stevenson, sir.
                     6 Q You don't know?
                     7 A No, sir.
                     8 Q Could have been you? Even according to
                     9 you. Right?
                     10 A It's a possibility, yes, sir.

       129.   This admission was key to Soren’s case. We did not bill his file for any

portion of the taking of Bauer’s deposition or the preparation therefor in Marks.

       130.   As we continued deposition preparations, we also reviewed the production

sets in order to correspond with defense counsel regarding the removal of certain

confidential designations. In our view, the defense had improperly designated the vast

majority of the discovery provided in this case as confidential in a gross abuse of the

Protective Order. By letter sent December 7, 2021, we alerted the Defendants to our

position on the over-designations and our intent to file a motion to remove the

confidentiality designations, including unsealing Soren’s Second Amended Complaint, if

we could not reach an agreement. Knowing Defendants’ position from prior

communications, we began researching for and drafting our motion and supporting

documents.

       131.   Further, defense counsel informed of us their desire to depose Soren and

three lay witnesses. These were scheduled for mid-February 2022.




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       132.   On December 12, 2021, we deposed Severance and solidified Soren’s

supervisory claims and further bolstered his Monell claims.

       133.   On December 22, 2021, we met and conferred with defense counsel

regarding our December 7, 2021 letter on the confidentiality issues. Defendants

requested we wait until after the holidays to file our motion and informed us they would

respond more fulsomely to our letter the first week of January. We agreed to

accommodate defense counsel’s request and held off filing our motion, expecting the

promised fulsome response by January 7, 2022.

       134.   On January 6, 2022, we attempted to schedule additional deponents.

       135.   By Friday, January 7, 2022, we still had not received a response from

defense counsel regarding confidentiality, so we filed our motion in late afternoon.

       136.   The response from defense counsel finally arrived at 6:06 pm on January 7

and provided no compromise to Defendants’ over-designations.

       137.   Also on January 7, we received deposition dates for some of Bauer’s fellow

SWAT 1280 team members.

       138.   On January 13, 2022, we added requested dates for additional deponents.

       139.   In total, we were planning to depose the following 13 individuals:

              a.     Anthony Caspers – MPD Bike Rapid Response Team (BRRT)

                     Commander;

              b.     Lt. Gary Nelson – MPD SWAT Commander;

              c.     Lt. Kevin Angerhofer – MPD SWAT Executive Officer;

              d.     Medaria Arradondo – former MPD Chief of Police;

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             e.     Defendant Benjamin Bauer – SWAT 1280 40-mm launcher and

                    Soren’s shooter;

             f.     The following members of SWAT 1280:

                    i.     Rian Jensen – lethal cover

                    ii.    Michael Meath – lethal cover

                    iii.   Adam Hakanson – lethal cover

                    iv.    Matthew Kaminski – 40-mm operator

                    v.     Austin Seely – 40-mm operator

                    vi.    Mark Hanneman – lethal cover

             g.     Sgt. Ryan Johnson – BRRT;

             h.     Dominic Manelli – BRRT 40-mm operator; and

             i.     Any additional 40-mm launcher operators whose names we learned

                    at the above depositions.

      140.   Given the number of deponents and difficulties with scheduling, we

requested a 30-day discovery extension; Defendants agreed.

      141.    We waited on finalized dates for many of the above-listed deponents for

weeks with little fruitful communication in-between.

      142.   Given that – even with the informally agreed to 30-day extension – the

close of discovery was quickly approaching, we engaged in extensive deposition

preparation in our usual fashion so that the waiting did not disadvantage Soren.

      143.   Simultaneously, we were preparing for the depositions of Soren, and lay

witnesses Griffin Merry, Jamee Snyder and Elizabeth Heehn.

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       144.   After receiving Defendants’ opposition to our confidentiality motion, we

requested leave to send a letter requesting permission to file a Reply. The request was

granted without needing to file the formal request letter. As such, we strategized

regarding our memorandum and began drafting the same.

       145.   Due to Defendants’ continued theory that Soren was not shot by Bauer, we

subpoenaed information from the Mille Lacs County Sheriff’s Office, whose officers

were at the scene on May 31, 2020, and were often suggested as the possible shooter of

Soren by the Defendants. Upon receipt and review of the requested information, it was

clear that the shot that struck Soren’s left eye could not have come from any Mille Lacs

County deputies. We provided the information received to the Defendants in a timely

fashion. Bauer’s alternative theories were crumbling.

       146.   On January 25, 2022, we requested that our memorandum in support of our

motion to unseal be unsealed.

       147.   On January 26, 2022, we provided a draft Stipulation for extension of

discovery. The same day, we filed our reply memorandum in support of our motion to

unseal the Second Amended Complaint and re-designation.

       148.   On January 27, 2022, Defendants denied our request to unseal our

memorandum, necessitating the filing of a disputed motion for continued sealing.

       149.   On January 31, 2022 we deposed Caspers.

       150.   The following day, we received word from defense counsel that there was

some difficulty regarding the scheduling of the outstanding deponents, as some no longer

worked for the City.

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      151.   On February 2, 2022, we provided many dates we were available for the

outstanding deponents. There was much additional back and forth regarding the schedule

of the outstanding deponents, with limited success, up to and including the day of the

Rule 68 Offer.

      152.   On February 8, 2022, the parties attended the hearing on Soren’s motion to

unseal and re-designate. After a recess in the hearing, Magistrate Judge Leung continued

it to March 18, 2022, and ordered Defendants to produce the disputed videos for in

camera review.

      153.   The following day, Soren received Defendants’ Rule 68 Offer allowing

judgment against Bauer, McCann and Severance.

      154.   The deposition schedule at the time we received the Rule 68 Offer was as

follows:

      February 14:         Elizabeth Heehn

      February 15:         Soren Stevenson

      February 22:         Jamee Snyder, Griffin Merry

      February 23:         Defendant Bauer

      February 25:         Michael Meath

      February 28:         Matthew Kaminski, Rian Jensen.

      March 9:             Angerhofer

      March 10:            Lt. Gary Nelson

      March 11:            Medaria Arradondo



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       March 14-18:           holding for Sgt. Ryan Johnson, Dominic Manelli, Mark

                              Hanneman, Adam Hakanson and Austin Seely.

       155.     Given that we had started attempting to schedule the depositions in earnest

in January 2022 and with discovery originally ending March 1 (with no filed Stipulation

to Extend or corresponding Order), we engaged in much preparation for the above-listed

deponents ahead of our unanticipated receipt of the Rule 68 Offer. Any time spent in

preparing for them after the Offer, but before a decision was made by Soren to accept,

has been excluded from the bill provided to the Court.

       156.     In addition to the above, throughout the litigation, Soren was required to

provide status updates to Magistrate Judge Tony Leung, which we did via letter every

three months.

       157.     While the foregoing provides a reasonable summary of the tasks undertaken

in this case and the chronology of events from Soren’s shooting through the Rule 68

Offer, it cannot serve as a stand-in for the 101 pages of billing records submitted

herewith. The foregoing is merely intended to illustrate the complexity of this case, the

roadblocks Soren encountered, and the massive efforts necessarily undertaken in

prosecution of his claims.

                THE REASONABLENESS OF THE REQUESTED FEES

       158.     Rule 1.5 of the Minnesota Rules of Professional Conduct supports the

request for fees and their reasonableness. The eight factors to be considered include:

                (1)    the time and labor required, the novelty and difficulty of the
                       questions involved, and the skill requisite to perform the legal
                       service properly;
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       (2)    the likelihood, if apparent to the client, that the acceptance of the
              particular employment will preclude other employment by the
              lawyer;

       (3)    the fee customarily charged in the locality for similar legal services;

       (4)    the amount involved and the results obtained;

       (5)    the time limitations imposed by the client or by the circumstances;

       (6)    the nature and length of the professional relationship with the client;

       (7)    the experience, reputation, and ability of the lawyer or lawyers
              performing the services; and

       (8)    whether the fee is fixed or contingent.

159.   Of particular importance in this matter are the following:

       a.     With regard to Factors 1 and 7, the novelty of these matters is

acknowledged by Congress and is known to the federal judiciary in Minnesota.

The degree of novelty and difficulty of proof was made much worse by the lack of

adherence to MPD’s use-of-force and use-of-force reporting policies and the level

of police response without such adherence. Our team described in paragraphs 13

to 32 have the proper skills, experience, reputations and ingenuity to deal with the

issues presented in this Section 1983 action;

       b.     With regard to Factors 3 and 8, our retainer agreement and fee split

is not atypical for representation in the difficult and specialized area of civil-rights

litigation. It was agreed to with Soren, who holds a Master’s degree from the

University of Minnesota’s Humphrey School of Public Affairs.




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               c.     With regard to Factor 4, Soren has a $2.4 million judgment against

       three individual MPD officers to be paid by the City of Minneapolis. To date and

       to our knowledge, this is the largest settlement stemming from injuries sustained

       by citizens during the post-George Floyd murder operational period.

               d.     With regard to Factor 6, we’ve represented Soren since two days

       after he was shot in the eye by Bauer and for nearly two years thereafter. He was

       kept apprised of the litigation, included in strategy discussions, and even attended

       McCann’s deposition.

               e.     Soren’s own Declaration speaks further to the factors included in

       Rule 1.5 and the appropriateness of the fees and costs requested herein.

       160.    In order to effectively prosecute the case, RK had to incur costs with

recovery of the same again completely contingent on the outcome. The total costs

incurred by RK for work on this case were $31,934.60. This number reflects an increase

from the February 28, 2020 costs provided to the Defendants due to the addition of Dr.

Sher’s final bill and the bill for the videotaping of Defendant Severance’s deposition,

which were added after the cost information was sent.

       161.    In accordance with the case law, we did not include the costs associated

with legal research on Pacer, LexisNexis or Westlaw in the figure in paragraph 161. We

likewise subtracted costs for meals. In total, we voluntarily subtracted that $504.50 from

the original cost total.




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         162.    Attached hereto as Exhibit 8 are the details regarding the recoverable costs

incurred with this litigation. See pgs. 97-101. I believe that the costs incurred were

reasonable and necessary to ensure the successful relief obtained on behalf of Soren.

         163.    In connection with this litigation, the attorneys and staff billers at RK have

billed a total of 2,367.60 hours 6 from inception through February 9, 2022 for a total

lodestar of $1,481,258.00. See Exhibit 8 at pg. 97.

         164.    A breakdown of each biller’s hours and fees is included below:

    Timekeeper            Title                      Hours       Rate         Fee
    Robert Bennett        Partner                    548.00      855.00       468,540.00
    Andrew Noel           Partner                    101.20      730.00       73,876.00
    Kathryn Bennett       Partner                    731.50      685.00       501,077.50
    Esther Mignanelli     Associate                  78.70       580.00       45,646.00
    Marc Betinsky         Counsel                    606.40      530.00       321,392.00
    Greta Wiessner        Associate                  9.80        485.00       4,753.00
    Angela Koob           Paralegal                  224.6       230.00       51,658.00
    Paul McCaffrey        Trial & Multimedia         12.10       295.00       3,569.50
                          Consultant
    Chris Sullivan        Trial & Multimedia         15.00       280.00       4,200.00
                          Consultant
    Ricardo Ehramjian     Trial & Multimedia         1.70        280.00       476.00
                          Consultant
    Travis Wilhelmi       Trial & Multimedia         0.70        280.00       196.00
                          Consultant
    Nick Adler            Investigator               20.70       220.00       4,554.00
    Brian Cade            Investigator               6.00        220.00       1,320.00

         165.    Attached hereto as Exhibit 8 are the billing records reflecting RK attorneys’

and staff billers’ time. I believe that the time expended by RK in connection with the



6
 Certain times within Exhibit 8 are noted at “No Charge,” denoting reductions for .4
hours Marc spent correcting a document filed in error and 10.80 hours for Esther’s
Section 1983 deposition training.

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litigation, taking into account the items listed in paragraphs 42 through 157 and the

excellent result achieved for Soren, is reasonable and was necessary to ensure the

successful relief obtained on behalf of Soren.

       166.   The figures in paragraph 164 and RK’s fee exhibits are taken directly from

contemporaneously maintained billing records.

       167.   Katie Bennett and I independently scrutinized the initial billings and

exercised our billing judgment to make the billings as accurate and as reasonable as

possible, including deleting entries that were unrecoverable and reducing time entries that

appeared excessive or duplicative.

       168.   Substantial attorney time was necessarily spent preparing for witnesses

whose depositions were scheduled prior to receipt of the Rule 68 Offer, as well as those

whose depositions were pending and looming, particularly given the discovery cut-off of

March 1, 2022.

       169.   Our plan was to depose SWAT 1280 members and others, to use their

testimony to rule out the other 40-mm launcher operators as Soren’s shooter. This would

have been done through careful questioning while reviewing various BWC video with

each witness. All of the predicate work for this was done.

       170.   This preparation occurred over many weeks, with much collaboration.

And, the preparation of each witness served as a stepping stone in our preparation for the

deposition of Defendant Bauer. With the continued BWC review and deposition

preparation for other witnesses, the plan for Defendant Bauer crystalized. We had a



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systematic plan to clearly identify the shooter and rule out all others. This systematic and

repeated review of the BWC evidence was necessitated by Soren’s slate of depositions.

       171.   This preparation time was reasonable given the immense difficulty we had

in scheduling depositions with defense counsel in this matter. It would have been to

Soren’s peril if we did not continue on-course so that we were at-the-ready whenever

defense counsel saw fit to get back to us with dates and times.

       172.   Further, substantial attorney time was spent researching, writing, preparing

for and arguing a motion regarding the unsealing of Soren’s Second Amended Complaint

and re-designation of documents and BWC videos that were improperly marked as

confidential by defendants. While a decision has not and will not be handed down by

Judge Leung, it appears the hearing was the catalyst for the Rule 68 Offer, which arrived

the day after said hearing. Soren properly seeks reimbursement for attorneys’ fees spent

on this motion.

       173.   Soren’s Second Amended Complaint included the following Counts:

              a.     Count I – 42 U.S.C. § 1983 – Fourth and Fourteenth Amendment

                     Violations against Defendant Bauer;

              b.     Count II – 42 U.S.C. § 1983 – First and Fourteenth Amendment

                     Violations against Defendants Bauer, Severance and McCann;

              c.     Count III – Supervisory Liability against Defendant Severance and

                     McCann; and




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               d.    Count IV – Civil Rights Violations – Monell v. Dep’t of Social

                     Services against Defendants City of Minneapolis and Medaria

                     Arradondo in his official capacity as then-Chief of the MPD.

A $2,400,000 judgment was entered against Defendant Bauer, as the shooter, and two

supervisors, Defendants Severance and McCann, in relation to Counts I through III. Any

work undertaken on Court IV was completely intertwined with those three Counts

because proof of an underlying constitutional violation is required in order to prevail on a

Monell claim. As such, using the “partial recovery” theory to reduce the fees is

unwarranted.

                         FEES IN RELATION TO THE MOTION

       174.    Upon receipt of the latest Rule 68 Offer on February 9, 2022, we engaged

in efforts to review and scrutinize the initial billings. This was both for purposes of any

settlement discussions and necessary for drafting this document and the others filed

concurrently relating to the reasonableness of the attorneys’ fees, billing entries and costs

in Soren’s case.

       175.    On February 28, 2022, upon our final review of the fees and costs, we

provided the same to counsel for the Defendants for purposes of settlement discussions in

accordance with Rule 408 of the Federal Rules of Evidence. This correspondence is

attached as Exhibit 9.

       176.    Thereafter, the parties engaged in further communications regarding the

Section 1988 fees and costs without need for Court involvement and, to-date, there was

been no response to the numbers provided to the Defendants on February 28, 2022.

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       177.   As such, our team devoted substantial time to drafting the materials

submitted in support of Soren’s Motion for costs, including reasonable attorneys’ fees.

       178.   Outside of the detailed review of the costs and bills through February 9,

2022, this included:

          a. Conducting legal research;

          b. Drafting this Declaration;

          c. Engaging and communicating with experts regarding our hours, fees and

              costs;

          d. Providing a fulsome draft of this Declaration to said experts to provide the

              necessary context for our billing records;

          e. Drafting the Memorandum of Law;

          f. Conferencing with members of RK’s pricing, legal project management and

              financial analytics team;

          g. Engaging RK’s CFO/CEO to provide a Declaration regarding our team’s

              hourly rates;

          h. Communicating and updating Soren;

          i. Engaging Soren to provide his Declaration; and

          j. A detailed review of the fees incurred in relation to this work, in which

              Katie and I again exercised our billing judgment.

      179.    In connection with the filing of Soren’s Motion and the work outlined

above, RK attorneys and staff billed a total of 278.20 hours from February 10, 2022, for a

gross total of $187,642.00.

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      180.    A breakdown of each biller’s hours and fees in relation to the Motion is

included below:

 Timekeeper          Title           Hours               Rate           Fee
 Robert Bennett      Partner         55.5                855.00                47,452.50
 Andrew Noel         Partner         3.50                730.00                 2,555.00
 Kathryn Bennett     Partner         141.70              685.00                97,064.50
 Marc Betinsky       Counsel         75                  530.00                39,750.00
 Ester Mignanelli    Associate       .70                 580.00                   406.00
 Angela Koob         Paralegal       1.80                230.00                   414.00

      181.     Attached hereto as Exhibit 10 are the billing records reflecting RK

attorneys’ time going forward from February 10, 2022, including time in connection with

the instant Motion. Katie Bennett and I independently scrutinized the billings and

exercised our billing judgment to delete entries that were, in our view, unrecoverable and

to reduce time entries that appeared excessive or duplicative. The figures in paragraph

180 and RK’s fee exhibits are taken directly from contemporaneously maintained billing

records.

      182.    While I believe the entirety of time expended by RK was reasonable, we

have decided not to request any time associated with the work relating to reviewing,

clarifying and responding to the Rule 68 Offer.

      183.    As such, we have excluded many of the time entries on pages 1 and 2 of

Exhibit 10, including:

           a. 3.5 hours for Andrew Noel;

           b. 5.6 hours for Katie Bennett;

           c. 0.7 hours for Esther Mignanelli;

           d. 6.0 hours for Marc;
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          e. 0.1 hour for Angela Koob; and

          f.   6.3 hours for myself.

       184.    We did not exclude the hours within the highlighted portions of Katie’s

February 10, 2022 entry or my February 14, 2022 entry on Exhibit 10 as that time related

directly to rate information required for this Declaration.

       185.    As such, the total requested fees accrued after the accepted Rule 68 Offer

and in conjunction with the work performed with the entirety of Soren’s submissions

totals $172,255.50. That is our requested lodestar for the fees on fees portion of this

Motion.

       I declare under penalty of perjury that the foregoing is true and correct. Executed

on this 4th day of April, 2022.



                                                  s/ Robert Bennett

                                                  Robert Bennett




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